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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                       Case No.: 15-CR-498-BEN
                       Plaintiff,
12
     v.
                                                     ORDER RE: LIMITED WAIVER OF
13                                                   ATTORNEY-CLIENT PRIVILEGE
     LUTHER GENE RAY,
14
                      Defendant-Petitioner.
                                                     [ECF No. 203]
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18         By filing a motion pursuant to 28 U.S.C. § 2255 asserting ineffective assistance of
19   counsel, Defendant Luther Gene Ray has waived his attorney-client privilege for this
20   motion. See Bittaker v. Woodford, 331 F.3d 715, 716 (9th Cir. 2003). The United States’
21   motion on this matter, ECF No. 203, is GRANTED. The United States shall have until
22   March 1, 2021, to respond to Defendant’s Section 2255 motion.
23         The Clerk of Court shall serve Defendant at this address: Reg. No. 63232-097,
24   USP Tucson, United States Penitentiary, P.O. Box 24550, Tucson, Arizona 85734.
25         IT IS SO ORDERED.
26        Dated: January 11, 2021                 ______________________________
                                                  HON. ROGER T. BENITEZ
27
                                                  United States District Judge
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